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                                                      UNITED STATES DISTRICT COURT
                   18

                   19                              NORTHERN DISTRICT OF CALIFORNIA

                   20                                      SAN FRANCISCO DIVISION

                   21   RICHARD KADREY, et al.,                               Case No. 3:23-cv-03417-VC-TSH
                   22         Individual and Representative Plaintiffs,       DEFENDANT META PLATFORMS, INC.’S
                                                                              RESPONSE TO COURT’S ORDER OF
                   23            v.                                           JANUARY 6, 2025 [DKT. 370]1
                   24   META PLATFORMS, INC., a Delaware
                        corporation;
                   25
                                                           Defendant.
                   26

                   27

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COOLEY LLP
                            This version corrects ECF 375, which had a formatting issue and incorrect footer.
ATTORNEYS AT LAW                                                                           DEF. META’S RESPONSE TO COURT’S
                                                                                          ORDER OF JANUARY 6, 2025 [DKT 370]
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                    1            Pursuant to the Court’s January 6, 2025 Order (Dkt. 370), Meta Platforms, Inc. (“Meta”)

                    2   hereby addresses the portions of Plaintiffs’ motion for relief from Judge Hixson’s December 20,

                    3   2025 Order (Dkt. 351) regarding seeding, a blocklist, and the related deposition of Michael Clark. 2

                    4            Judge Hixson’s Order – which was based on a review of the record and fulsome briefing,

                    5   rather than the snippets and innuendo in Plaintiffs’ motion for review – is far from being “clearly

                    6   erroneous or contrary to the law,” but rather is well-supported by the record. Grimes v. City and

                    7   Cty. of San Francisco, 951 F.2d 236, 241 (9th Cir. 1991) (cleaned up). This Court should not set

                    8   aside Judge Hixson’s factual determinations unless “it is left with a definite and firm conviction

                    9   that a mistake has been committed.” EEOC v. Peters’ Bakery, 301 F.R.D. 482, 484 (N.D. Cal.

                   10   2014) (cleaned up); Grimes, 951 F.2d at 241 (the district court “may not simply substitute its

                   11   judgment” for that of the magistrate judge). Without identifying any such “mistake,” Plaintiffs

                   12   seek additional 30(b)(6) witness testimony on the topics of “seeding” and Meta’s blocklist.

                   13   However, Meta produced all discovery on these topics to which Plaintiffs are entitled, and though

                   14   “seeding” was not a particularized subject of any 30(b)(6) topic Plaintiffs served, Meta's witness

                   15   was prepared to discuss it, and Plaintiffs’ counsel inexplicably chose not to examine him further.

                   16   Plaintiffs have not—and cannot—meet their burden to set aside Judge Hixson’s well-reasoned

                   17   order as to these issues. The motion should be denied.

                   18              I.   “Seeding” Was Not Covered by Plaintiffs’ 30(b)(6) Topics and is Not Relevant

                   19            The record supports Judge Hixson’s determination that seeding does not fall within any of

                   20   Plaintiffs’ 30(b)(6) topics. (Dkt. 351 at 6.) Plaintiffs point to Topic 1 (“Meta’s access to,

                   21   identification of, assembly, processing, and/or curation of datasets to train its Large Language

                   22   Models”)3, Topic 2 (“Meta’s access, copying, reproduction and/or use of the datasets”) 4, and Topic

                   23   8 (“Meta’s efforts to acquire text data to train the Meta Language Models”) as supporting their

                   24
                        2
                          The Jan. 6 Order refers to the “Kerr deposition,” which is not referenced in the parties’ joint letters
                   25   (Dkts. 335–336) or Plaintiffs’ motion for relief (Dkt 367). Meta understands this to refer to Mr.
                        Clark, who testified on both matters at issue.
                        3
                   26     Dkt. 335-4 at 3. For Topic 1, Meta agreed to “designate one or more witnesses to testify generally
                        regarding Meta’s selection, downloading, assembly, and processing of text datasets used to pretrain
                   27   the Meta Language Models.” Id. at 4. Plaintiffs did not object to this narrowing.
                        4
                          Meta also agreed to a narrowing of Topic 2 to testify generally regarding Meta’s “use” and
                   28   “storage” of certain datasets, as well as the contents of those datasets and communications about
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                        them,, to which Plaintiff did not object. Dkt. 335-4 at 4–5.
ATTORNEYS AT LAW                                                                              DEF. META’S RESPONSE TO COURT’S
                                                                           1                 ORDER OF JANUARY 6, 2025 [DKT 370]
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                    1   demand for 30(b)(6) testimony on seeding. But these broad and vaguely worded topics do not

                    2   reference “seeding” or the “uploading” or “distribution” of datasets. Nor do they support Plaintiffs’

                    3   claim that their notice “sought 30(b)(6) testimony concerning exactly which clients were used, what

                    4   was seeded, to whom, and other technical details.” Dkt. 335 at 1.)

                    5          “If a party wishes to bind a corporation to Rule 30(b)(6) testimony, it must serve a

                    6   sufficiently specific notice to apprise the corporation of the topics that will be covered.” Jacksen

                    7   v. Chapman Scottsdale Autoplex, LLC, 2023 WL 142533, at *3 (D. Ariz. Jan. 10, 2023) (emphasis

                    8   added); accord ChriMar Sys. Inc. v. Cisco Sys. Inc, 312 F.R.D. 560, 563 (N.D. Cal. 2016).

                    9   Otherwise, “if the deponent does not know the answer to questions outside the scope of the matters

                   10   described in the notice, then that is the examining party’s problem.” Detoy v. City and Cty. of San

                   11   Francisco, 196 F.R.D. 362, 366–67 (N.D. Cal. 2000) (citation omitted).

                   12          These principles dictate rejection of Plaintiffs’ request for further testimony on seeding.

                   13   Plaintiffs served their Amended 30(b)(6) Notice on October 8. Contrary to their representations to

                   14   the Court, none of the topics in this notice “specifically” cover seeding (Dkt. 335 at 1). And, despite

                   15   having met and conferred on the scope of the topics, followed by motion practice (Dkt. 247), neither

                   16   “seeding” nor any similar concept was raised by Plaintiffs in the context of 30(b)(6) topics or

                   17   testimony until counsel questioned Mr. Clark about seeding on November 19, Lauter Decl. ¶ 4, and

                   18   written discovery was limited to a single document request about the “decision” to torrent.

                   19          Plaintiffs’ argue in their Motion that, had “Meta cleanly objected to seeding as falling

                   20   outside the 30(b)(6) notice, Plaintiffs would have filed a letter brief long ago challenging that

                   21   objection and, if necessary, seeking to add ‘seeding’ as its own Rule 30(b)(6) topic.” Mot at 3.

                   22   This revisionist argument fails for several reasons. First, Meta had no reason to believe these topics

                   23   covered seeding and thus had no obligation or reason to object in advance to testimony that

                   24   Plaintiffs’ notice did not seek. Second, when Plaintiffs first broached the issue of seeding—at Mr.

                   25   Clark’s deposition, despite the lack of notice—Meta’s counsel objected that Plaintiffs’ inquiry into

                   26   specific details of seeding was beyond the scope of their 30(b)(6) topics. See Dkt. 335-6 at 356:14–

                   27   357:17 (“I don’t read the topics to include that nor I don't think reasonably put him on notice”).

                   28   Third, Plaintiffs’ request for further testimony on this topic conflicts with their representation in
COOLEY LLP
ATTORNEYS AT LAW                                                                            DEF. META’S RESPONSE TO COURT’S
                                                                          2                ORDER OF JANUARY 6, 2025 [DKT 370]
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                    1   their motion to amend that their proposed amendments regarding seeding do not require any new

                    2   discovery. See Dkt. 301-2 at 7 (“[T]hese claims are premised entirely on … deposition testimony

                    3   already provided by Meta.”)

                    4          While objecting at Mr. Clark’s deposition that Plaintiffs’ 30(b)(6) topics did not encompass

                    5   seeding, Meta’s counsel also told Plaintiffs that any questions about seeding should be put to a

                    6   different witness, Nikolay Bashlykov, who was designated on Topic 7 and whom Mr. Clark had

                    7   identified as involved with the datasets at issue. Dkt. 335-6 at 394:2-9. Mr. Bashlykov was directly

                    8   involved in the dataset download process that, according to Plaintiffs, resulted in the alleged

                    9   seeding. See, e.g., Dkt. 335-8 at 132:1-12 (personal involvement in downloading). Mr. Bashlykov

                   10   also spoke with several Meta employees and reviewed numerous documents to prepare. Dkt. 335-

                   11   9 at 18:3–21:6; 49:22–50:18 (“I refreshed my knowledge of the work I did [and] … looked into the

                   12   internal documentation.”); Tradeshift, Inc. v. Buyerquest, Inc., 2021 WL 2222811, at *1 (N.D. Cal.

                   13   June 2, 2021) (“The amount of preparation that is necessary for a Rule 30(b)(6) deposition depends

                   14   on the nature of the topics and what information the witness already knows or can remember.”).

                   15   Rather than evincing a lack of knowledge regarding seeding, Mr. Bashlykov in fact confirmed that,

                   16   based on this preparation, he was not aware of any evidence of seeding and testified about steps

                   17   Meta took to prevent seeding.      Dkt. 335-9 at 53:14–55:21, 152:3-13.        Given their present

                   18   complaints, Plaintiffs’ counsel inexplicably chose not to ask Mr. Bashlykov follow-up questions

                   19   on these subjects, including about the details of the dataset download process he spearheaded. Id.

                   20   at 153:3-4. Plaintiffs instead unilaterally decided that Mr. Bashlykov was not prepared and elected

                   21   to forgo asking him about relevant documents. Id. at 150:14-22 (“I had several documents today

                   22   that I had planned to talk with Mr. Bashlykov about that I’m not going to discuss with him….”);

                   23   id. at 152:3-13 (witness confirming that he was prepared but not asked questions about documents

                   24   he had reviewed and about “measures Meta took to prevent the seeding of sci-mag pursuant to the

                   25   bit torrent process” that he employed). That Plaintiffs did not obtain the answers they wanted from

                   26   Mr. Bashlykov, and failed to fully question him on issues on which he was prepared, are not

                   27   grounds to order further 30(b)(6) testimony, particularly where Plaintiffs fully exhausted their

                   28   entire allotment of 30(b)(6) deposition time on other matters.
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ATTORNEYS AT LAW                                                                          DEF. META’S RESPONSE TO COURT’S
                                                                         3               ORDER OF JANUARY 6, 2025 [DKT 370]
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                    1            Separately, Judge Hixson correctly determined that “seeding” is not a relevant issue in this

                    2   case. Dkt. 351 at 6. There is presently no claim against Meta for purported seeding of Plaintiffs’

                    3   asserted works.5 Plaintiffs contend that seeding is nevertheless relevant because Meta allegedly

                    4   engaged in copying their works in downloading them via torrents and, in their view, torrenting is

                    5   “brazen and illegal conduct” that necessarily entails seeding. Dkt. 367 at 1. But torrenting is simply

                    6   a means of downloading data; it is not inherently wrongful. Plaintiffs proffer no support for their

                    7   claim that it requires seeding. More critically here, Plaintiffs cite no evidence that their works were

                    8   torrented, let alone seeded. To the contrary, Mr. Bashlykov testified only that the “sci-mag” portion

                    9   of Libgen (i.e., a corpus of scientific “articles”) was downloaded using torrents. Id. at 46:15-22,

                   10   90:13-16. Thus, even if it were the case that torrenting always resulted in seeding (it is not),

                   11   Plaintiffs have no evidence that Meta torrented (or seeded) books, much less their books.

                   12            The Court should sustain Judge Hixson’s sound conclusions that Plaintiffs did not properly

                   13   seek 30(b)(6) testimony on seeding and are not entitled to further testimony on that topic.
                                II.    Meta Appropriately Objected to the Disclosure of Attorney Advice About the
                   14                  Blocklist; It Did Not Assert Privilege Over the List’s Existence or Contents
                   15            Plaintiffs assert for the first time in their motion for review that Meta improperly “asserted
                   16   privilege over a ‘blocklist,’” using this new argument to demand not only further 30(b)(6) testimony
                   17   on mitigations, but also production of the blocklist. These issues were not raised in the joint letter
                   18   that was the subject of Judge Hixson’s order (see Dkt. 366), and therefore are not properly before
                   19   the Court. Plaintiffs’ requested relief should be denied on that basis alone.
                   20            Plaintiffs’ request, which is premised on falsehoods, also fails on the merits. The attorney-
                   21   client privilege does not protect from disclosure the fact that something occurred, State Farm Fire
                   22   & Cas. Co. v. Superior Court, 54 Cal. App. 4th 625, 640, (1997), but it does protect the substance
                   23   of legal guidance about factual matters. See Upjohn Co. v. United States, 449 U.S. 383, 395 (1981)
                   24   (“A fact is one thing and a communication concerning that fact is an entirely different thing.”);
                   25   accord Zurich Am. Ins. Co. v. Sup. Ct., 155 Cal. App. 4th 1485, 1504 (2007).
                   26            Meta carefully adhered to this distinction in connection with 30(b)(6) testimony about the
                   27
                        5
                         Plaintiffs are seeking to add claims about torrenting and seeding (Dkt. 300), but those claims are
                   28   not presently in the case, and, as detailed in Meta’s opposition (Dkt. 329), Plaintiffs’ new claims
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                        are untimely and inadequately pleaded.
ATTORNEYS AT LAW                                                                             DEF. META’S RESPONSE TO COURT’S
                                                                           4                ORDER OF JANUARY 6, 2025 [DKT 370]
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                    1   “blocklist.” Contrary to Plaintiffs’ allegations (Mot. at 5), Meta did not seek to prevent disclosure

                    2   of facts about the blocklist or the blocklist itself.6 During his 30(b)(6) testimony, Plaintiffs asked

                    3   Mr. Clark a number of questions about the list, and he freely discussed the existence of the list and

                    4   its contents without any assertion of privilege. Ex. 1. It was only when Plaintiffs asked why certain

                    5   domains were not included on the list that Meta properly objected on privilege grounds. Dkt. 367-

                    6   2. Mr. Clark explained that “[t]he block list is created and developed as guidance from counsel,

                    7   and so I can’t answer that part of it.” Id. In other words, an explanation would have required

                    8   disclosure of the substance of legal guidance. In short, Meta’s demarcation between what it did on

                    9   the basis of attorney advice and why it did it is exactly how privilege is supposed to work. Thus,

                   10   Plaintiffs’ argument that privilege “does not extend to actions taken based on [legal] advice,” while

                   11   generally correct, does not identify any error in Judge Hixson’s ruling. Dkt. 367 at 5 (citing In re

                   12   MacBook Keyboard Litig., 2020 WL 1265629, at *3 (N.D. Cal. Mar. 17, 2020)). 7

                   13            Plaintiffs also seek an order compelling Meta to produce the blocklist despite never having

                   14   raised this issue during meet and confers, Mr. Clark’s deposition, or in the parties’ joint letter

                   15   addressing Meta’s privilege claims. See Dkt. 336. To be sure, this request is especially unfounded

                   16   given that Meta in fact produced multiple copies of the blocklist in advance of Mr. Clark’s 30(b)(6)

                   17   deposition (see Meta_Kadrey_00156958 and Meta_Kadrey_00156982), Contrary to the suggestion

                   18   in their brief, Plaintiffs had those blocklists and chose not to ask any questions about them during

                   19   the 17 hours Mr. Clark was on the record. There is no clear error in Judge Hixson’s finding that

                   20   seeding is not relevant and was not encompassed by Plaintiffs’ 30(b)(6) topics, or his conclusion

                   21   that Meta appropriately distinguished between facts and privileged communications.

                   22
                        6
                   23     Plaintiffs similarly misrepresented to the Court that Meta “asserted privilege over its IP
                        mitigations,” (Mot. at 5), citing a single, demonstrably appropriate instance in which Meta’s
                   24   counsel objected to testimony as to the legal advice underlying the mitigations, as opposed to facts
                        about what mitigation efforts were implemented. Plaintiffs’ inexplicably omit dozens of pages of
                   25   30(b)(6) testimony from Mr. Clark about Meta’s mitigation efforts. Indeed, Mr. Clark’s discussion
                        of mitigations was so extensive that Meta attaches hereto only the index pages from his multiple
                   26   days of 30(b)(6) testimony reflecting mentions of “mitigation” (and variations thereof) as well as
                        mentions of “privilege.” See Ex. 2. Meta can provide the actual excerpts upon request.
                        7
                   27     Plaintiffs filed multiple briefs challenging Meta’s assertion of privilege, and Judge Hixson
                        carefully reviewed numerous documents in camera and concluded that he “saw no problems with
                   28   Meta’s privilege redactions,” which were “restrained.” Dkt. 351 at 7. Thus, any suggestion that
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                        Meta has abused the privilege is baseless and contrary to Judge Hixson’s reasoned findings.
ATTORNEYS AT LAW                                                                            DEF. META’S RESPONSE TO COURT’S
                                                                          5                ORDER OF JANUARY 6, 2025 [DKT 370]
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                    1   Dated: January 8, 2025                               COOLEY LLP

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                                                                   6                  ORDER OF JANUARY 6, 2025 [DKT 370]
                                                                                                 3:23-CV-03417-VC-TSH
